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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: MARK A. BARNETT, CHIEF JUDGE
 __________________________________________
                                           )
                                            )
 TRIJICON, INC.,                            )
                                            )
                         Plaintiff,         )
                                            ) Court No. 22-00040
       v.                                   )
                                            )
 UNITED STATES,                            )
                                            )
                         Defendant.        )
                                            )

PLAINTIFF’S MEMORANDUM OF LAW IN RESPONSE TO DEFENDANT’S CROSS-
                MOTION FOR SUMMARY JUDGMENT




                                               Respectfully Submitted,

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                           NONCONFIDENTIAL
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                                        INTRODUCTION

       Trijicon, Inc. (“Plaintiff” or “Trijicon”), submits this response to the United States’

(“Defendant” or the “Government”) Cross-Motion for Summary Judgment and Response in

Opposition to Plaintiff’s Motion for Summary Judgment, ECF No. 31 (“Defendant’s Motion”),

pursuant to Rule 56. USCIT R. 56. The parties agree that summary judgment is appropriate in this

case because there are no genuine issues of material fact in dispute. The only issue before this

Court is the proper legal interpretation of the competing tariff provisions.

                              SUMMARY OF THE ARGUMENT

       Plaintiff’s Tritium Sight Inserts (the “subject merchandise”) are not properly classified

under Heading 9405 of the Harmonized Tariff Schedule of the United States (“HTSUS”) 1 as

claimed by Defendant. Tritium Sight Inserts are very small devices that are coated internally with

zinc sulfide (or phosphor) and are filled with tritium gas, which releases beta radiation. The beta

radiation reacts with the phosphor to produce a glow, which illuminates aiming points in Trijicon’s

firearm sights and riflescopes. Trijicon’s Tritium Sight Inserts are not “lamps” as the term is used

in Heading 9405 and, even if they were, they are elsewhere specified or included. As such, the

Tritium Sight Inserts are properly classified pursuant to GRI 1 in Heading 9022, as an apparatus

based on the use of beta radiation.

       Notably, Defendant’s Motion has abandoned the rationale proffered by U.S. Customs and

Border Protection (“CBP” or “Customs”) in Internal Advice Ruling HQ H307905 (August 17,

2020), which led to this appeal. In its Internal Advice Ruling, CBP concluded the subject

merchandise could not be classified in Heading 9022 because that heading “does not describe the



1
 The HTSUS is codified at 19 U.S.C. § 1202. All citations herein are to the 2019 edition of the
HTSUS, and to the 2019 edition of the World Customs Organization’s Explanatory Notes to the
Harmonized Commodity Description and Coding System.


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products entirely because it is the glowing colored phosphor that provides visibility to the user of

the firearm as an alignment aid at night or in low-light conditions.” Plaintiff’s Exhibit (“Pl.’s Ex.”)

02, HQ H307905 Internal Advice Ruling (Aug. 17, 2020), at 7 n.6. Instead, the Government now

argues that Trijicon’s Tritium Sight Inserts are not an “apparatus” as that term is used in Heading

9022. Tellingly, Defendant does not support its new position with any reference to the deposition

of its own witness and the author of HQ H307905, Ms. Patricia Fogle, whose testimony supports

Trijicon’s position. Because the Tritium Sight Inserts satisfy the “apparatus” language of Heading

9022, which in any event is more specific than Heading 9405, the Government’s claim that the

subject merchandise is not specified or included elsewhere than in Heading 9405 must fail. To the

contrary, Trijicon’s internal documents, and the testimony of both Trijicon’s and CBP’s witness

support classification of the subject merchandise in Heading 9022.

                                            ARGUMENT

I.     Trijicon’s Tritium Sight Inserts are Not Lamps of Heading 9405

       Classification of the Tritium Sight Inserts in Heading 9405 is improper because the term

“lamp” as used in Heading 9405 does not encompass the subject merchandise. Case law, dictionary

definitions, and other authority proffered by the Government do not support classifying the subject

merchandise as “lamps” in Heading 9405 that are “not elsewhere specified or included.” Nor do

shorthand references to the subject merchandise as lamps in some documents demonstrate that

classification in Heading 9405 is proper.

       A.      Court Cases Describing “Lamps” Do Not Support Classifying the Tritium
               Sight Inserts as Lamps in Heading 9405

       The Government relies on Gerson Co. v. United States, 898 F.3d 1232 (Fed. Cir. 2018) and

Pomeroy Collection, Ltd. v. United States, 559 F. Supp. 2d 1374 (Ct. Int’l Trade 2008) to support

its argument that the Tritium Sight Inserts should be considered “lamps” as that term is used in



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Heading 9405. As detailed below, the distinct products at issue in those cases, as well as

differences in the alternative classifications considered, demonstrate why the Government’s

reliance on those decisions is misplaced.

        Gerson does not support classification of Trijicon’s Tritium Sight Inserts in Heading 9405

for two principal reasons. First, Tritium Sight Inserts are nothing like the products at issue in

Gerson. The products in Gerson are described as “finished decorative candle and tea light lamps

made of plastic and/or wax. The lamps are designed to resemble ordinary candles, such as votive,

pillar, taper, or tea light candles . . . [they] use battery-operated LEDs.” Gerson, 898 F.3d at 1234.

The Court’s conclusion that decorative, electric candles and tea lights can be considered “lamps”

does not support applying a similar term to Tritium Sight Inserts. The Tritium Sight Inserts are

complex devices designed for a particular purpose. They are not “decorative,” as were the electric

candles in Gerson, but are instead apparatuses carefully constructed to contain and harness the

radioactive material that provides illumination in Trijicon’s firearm sights and riflescopes. Unlike

the electric candles in Gerson, the subject merchandise that Trijicon imports here are specifically

intended to glow within Trijicon’s firearm products without an external power source. Further, the

subject merchandise are used for the specific purpose of illuminating aiming points in Trijicon’s

gunsights. In sum, Trijicon’s Tritium Sight Inserts are in no way analogous to the products at-issue

in Gerson, such that the classification analysis in that case has neither binding nor persuasive value

here.

        Second, the alternative heading proposed by the plaintiff in Gerson was Heading 8543, a

broad, general category encompassing “[e]lectrical machines and apparatus, having individual

functions, not specified or included elsewhere in this chapter.” Id. (quoting Heading 8543). The

Court of Appeals held that Heading 8543 did not “cover Gerson’s candles, which are decorative




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articles that also serve an illuminative function,” whereas those articles fell squarely within

Heading 9405 as “[l]amps and lighting fittings including searchlights and spotlights and parts

thereof, not elsewhere specified or included.” Id. at 1236–37. Gerson therefore provides no support

for the Government’s claim that GRI 1 supports classification of Trijicon’s Tritium Sight Inserts

in Heading 9405 rather than Heading 9022, which the Court of Appeals was not called upon to

interpret.

        For the same reasons, Pomeroy also does not support classification of Trijicon’s Tritium

Sight Inserts as “lamps” in Heading 9405. The Government relies on Pomeroy to support its

understanding of the definition of the term “lamp.” See Def.’s Mot. at 10–11. First, as with Gerson,

the products in Pomeroy are distinct from the Tritium Sight Inserts. The products at issue in

Pomeroy were various types of candles incorporated into decorative glass vessels, which CBP

liquidated in Heading 7013 as “[g]lassware of a kind used for table, kitchen . . . or similar

purposes.” See Pomeroy, 599 F. Supp. 2d at 1377–79 (for example, one of the variations of the

candles “consists of a rustic iron stand roughly 15 inches tall . . ., a bell-shaped glass vessel . . ., a

packet of sand, a packet of small granite rocks, and a vanilla-scented pillar candle,” which the user

assembles by pouring sand into the glass vessel, positioning the candle on top, and arranging the

stones around the base of the candle). The court found that the products “clearly fall[] within the

broad description of ‘[n]on-electrical lamps’ set forth in the Explanatory Note to heading 9405,

which expressly includes lamps that use candles as a light source.” Id. at 1387. As with Gerson,

the products in Pomeroy were articles that were expressly listed in the Explanatory Notes to the

Harmonized Commodity Description and Coding System (the “Explanatory Notes” or “ENs”) to

Heading 9405—candles. Distinctly, the Tritium Sight Inserts are not candles and are not one of

the examples listed in the Explanatory Note to Heading 9405. There is nothing about the




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merchandise examined or the court’s classification logic in Pomeroy that compels or even

supports classification of Trijicon’s Tritium Sight Inserts in Heading 9405.

        Second, the alternate heading the court considered in Pomeroy, Heading 7013—which

provides for “[g]lassware of a kind used for table, kitchen, toilet, office, indoor decoration or

similar purposes . . .”—is not analogous to Heading 9022, for apparatuses based on the use of

various types of radiation. The court in Pomeroy found that Heading 7013 did not cover the

decorative candles because the candles are “not ‘glassware’ per se (such as a vase), but [are]

instead goods ready for assembly that have, inter alia, a component made of glass.” Id. at 1388

(emphasis in original). Here, the terms of Heading 9022 fully describe the entirety of the Tritium

Sight Inserts as an apparatus based on the use of beta radiation. 2 Neither the Court of Appeals in

Gerson nor the Court of International Trade in Pomeroy considered or analyzed Heading 9022,

which further limits the cases’ applicability to the instant litigation.

        B.      The Explanatory Note to Heading 9405 Does Not Support Classification of
                the Tritium Sight Inserts as Lamps

        Explanatory Notes are not binding on the Court’s analysis, but can be “indicative of proper

interpretation” of the tariff schedule. Lynteq, Inc. v. United States, 976 F.2d 693, 699 (Fed. Cir.

1992) (quoting H.R. Rep. No. 100-576, at 549 (1988) (Conf. Rep.), reprinted in 1988

U.S.C.C.A.N. 1547, 1582). The EN to Heading 9405 confirms Trijicon’s reading of Heading 9405

and cannot be squared with the Government’s contention that the Tritium Sight Inserts are

appropriately classified therein.




2
 The Government takes Trijicon’s GRI 3(a) argument out of context in its motion in stating that
Trijicon maintains that a “lamp” under Heading 9405 is simply a glass container. Def.’s Mot. at
11. Understood in the context of Trijicon’s Motion, Trijicon argues that Heading 9022 is more
specific than Heading 9405 because Heading 9022 contains a more specific description of the
Tritium Sight Inserts as an apparatus based on the use of beta radiation.


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       The 2019 EN to Heading 9405 provides for:

               LAMPS AND LIGHTING FITTINGS, NOT ELSEWHERE
               SPECIFIED OR INCLUDED

               Lamps and lighting fittings of this group can be constituted of any
               material (excluding those materials described in Note 1 to Chapter
               71) and use any source of light (candles, oil, petrol, paraffin (or
               kerosene), gas, acetylene, electricity, etc.). Electrical lamps and
               lighting fittings of this heading may be equipped with
               lamp‑holders, switches, flex and plugs, transformers, etc., or, as in
               the case of fluorescent strip fixtures, a starter or a ballast.

       In Gerson, the Court of Appeals noted that:

               That EN [EN 94.05] also provides examples of lamps that fall
               within the heading and includes those that are “normally used for
               the illumination of rooms” such as “chandeliers” and “table
               lamps,” as well as “[c]andelabra” and “candlesticks.” Id.; see also
               Pomeroy Collection, Ltd. v. United States, 559 F. Supp. 2d 1374,
               1386 (Ct. Int’l Trade 2008) (noting that heading 9405 covers
               “candle holders and candle lamps”). The notes therefore suggest
               that chapter 94 was intended to include at least finished, standalone
               electric lamps used in the home.

898 F.3d at 1237. The court in Gerson ruled that because the products—decorative electrical

candles—fell within the examples enumerated in the EN for Heading 9405, which included

candlesticks and candelabra, and because Heading 9405 includes lamps that use electricity,

classification of the electric candles in Heading 9405 was proper. Id. at 1237–38.

       In contrast, Trijicon’s Tritium Sight Inserts are not specifically provided for in the EN to

Heading 9405. As explained in Trijicon’s Motion for Summary Judgment (“Plaintiff’s Motion”),

the EN to Heading 9405 contemplates merchandise that the general public would traditionally

understand to be “lamps” or “light fixtures,” such as table lamps and candlesticks. See Gerson,

898 F.3d at 1237. While Trijicon acknowledges that the EN to Heading 9405 covers lamps

“constituted of any material” and that use “any source of light,” it does not follow that the Tritium

Sight Inserts should therefore be classified in Heading 9405. The EN provides a lengthy list of



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examples of merchandise that are covered by Heading 9405. None of those examples incorporate

radiation. In addition, Heading 9405 is not the only HTSUS heading that could apply to a lamp;

thus even if a device could be considered a “lamp,” it does not logically follow that it must be

classified in Heading 9405. See, e.g., Heading 8513 (certain “[p]ortable electric lamps designed to

function by their own source of energy”) and Heading 8539 (“[e]lectrical filament or discharge

lamps, including sealed beam lamp units and ultraviolet or infrared lamps; arc lamps”).

       Indeed, when Trijicon pressed the Government’s witness on which examples listed within

the EN to Heading 9405 are most analogous to the Tritium Sight Inserts, the Government

maintained that it was “candelabra, candlesticks, candle brackets, e.g., for pianos” because those

products are non-electrical merchandise that produce a glow. Pl.’s Ex. 04, Deposition Testimony

of Patricia Fogle 154:9–18 (July 21, 2023) (“Fogle Dep.”). The Tritium Sight Inserts—complex

devices consisting of tritium gas and phosphor within a hermetically sealed glass capillary

designed to function as an aiming aid in Trijicon’s firearm sights and riflescopes—are entirely

distinct from “candelabra, candlesticks, candle brackets, e.g., for pianos” that mainly serve to

decorate and illuminate a space. See Customs Ruling HQ 960822 (Jun. 17, 1998) (classifying glow

sticks, which are meant to emit light but are not meant to light a room, in Heading 3824, HTSUS,

based upon the ENs, which included “[a]rticles producing a lighting effect by the phenomenon of

chemiluminescence, e.g., lightsticks in which the lighting effect is obtained by a chemical reaction

between oxalic acid type esters and hydrogen peroxide in the presence of a solvent and a

fluorescent compound”). Thus, the fact that Tritium Sight Inserts emit a glow does not

automatically place them in Heading 9405 along with items specifically enumerated in the EN.




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       C.      CBP Rulings Provide Additional Support that Classification of the Tritium
               Sight Inserts in Heading 9405 is Improper

       Customs rulings demonstrate that even if the Government were correct that the Tritium

Sight Inserts meet the definition of a “lamp” as used in Heading 9405, the terms of the heading

would still require the subject merchandise to be “not otherwise specified or included” for

classification in Heading 9405 to be proper. Defendant’s Motion does not acknowledge that there

are a wide variety of products that emit light that are not classified in Heading 9405.

       For example, CBP’s rulings on glow sticks demonstrate that products that glow—i.e.,

produce light—are not always classified as a “lamp” or in Heading 9405. In HQ 960822, CBP

found that certain glow sticks were properly classified in Heading 3824 as “prepared binders for

foundry molds or cores; chemical products and preparations of the chemical or allied

industries . . . .” HQ 960822 (Jun. 17, 1998). CBP rejected the protestant’s proposed classification

of the glow stick as a “toy” based on the indicated use of the product in advertisements, and stated

that although “the marketing of an article can help determine whether it falls into a particular

category, marketing and advertising alone are not dispositive.” Id. Instead, CBP noted that the

glow stick was “made of chemical filled plastic tubing which is a waterproof, semi-durable

product,” and CBP cited the ENs to Heading 3824, HTSUS, which covered “[a]rticles producing

a lighting effect by the phenomenon of chemiluminescence, e.g., lightsticks in which the lighting

effect is obtained by a chemical reaction between oxalic acid type esters and hydrogen peroxide in

the presence of a solvent and a fluorescent compound.” Id.

       Similarly, in HQ 086870, CBP considered the appropriate classification of “light sticks”

that “are used in a variety of applications, including industrial and military applications calling for

an illuminating function” and consist of “an outer flexible plastic tube which contains a mixture

of chemicals and, in addition, another glass ampoule which in turn contains another chemical



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mixture.” Customs Ruling HQ 086870 (July 20, 1990). There, as well, CBP classified the products

according to their chemical compounds, finding they should be classified as “prepared binders for

foundry molds or cores; chemical products and preparations of the chemical or allied industries

(including those consisting of mixtures of natural products)...other: mixtures containing 5 percent

or more by weight of one or more aromatic or modified aromatic substances: other.” Id.

       Both of these CBP rulings help clarify why classification of the Tritium Sight Inserts in

Heading 9405 according to the Government’s reasoning is inappropriate. First, the glow sticks

share certain characteristics with the subject merchandise: namely, an ampule filled with an

illuminating substance. In the prior rulings, CBP was clear that the product’s mere illuminating

characteristic was not dispositive for a “lamp” classification. Indeed, CBP rejected an argument

relying upon an importer’s own description of the glow sticks as dispositive for classification—a

position the Government now makes in the present litigation. See Def.’s Mot. at 10 (“. . . Trijicon

consistently calls the merchandise a ‘lamp’ in communications with its supplier, workers,

customers, and chief regulator.”). Second, it was the principal components of the glow sticks (i.e.,

the chemical compounds that caused the glow) that determined the articles’ classification, rather

than the mere fact that they emit a glow.

       Both considerations weigh against classification of the subject merchandise under Heading

9405 and indicate classification in Heading 9022 is proper: the Tritium Sight Inserts consist of at

least a hermetically sealed glass ampule filled with tritium gas that interacts with the phosphor

coating to produce a glow—much like the non-lamp glow sticks that CBP appropriately classified

elsewhere in the HTSUS. Moreover, CBP’s consideration of the glow sticks’ predominant

constituent elements is appropriate here, where the Tritium Sight Inserts’ use of beta radiation is




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the main distinguishing feature. These features outweigh any other references made in Trijicon’s

materials when determining classification.

       One ruling where CBP classified a tritium filled glass light used to illuminate emergency

exit signs under Heading 9405 is also readily distinguishable because the product was specifically

provided for in the terms of Heading 9405. In HQ 089963, CBP considered the appropriate

classification of “betalight,” which “consists of a sealed glass tube internally coated with phosphor

and filled with the radioactive gas tritium, which activates the phosphor to produce light.” Customs

Ruling HQ 089963 (Nov. 21, 1991). Crucially, the “betalight” was “used in the manufacture of

emergency exit signs and in various other lighting applications as a non electrical form of

illumination.” Id. CBP turned to the ENs for Heading 9405, comfortably finding a description of

the product as “identifiable parts of lamps and light fittings, illuminated signs, illuminated name-

plates and the like, not more specifically covered elsewhere.” Id. Because “betalight is used

principally in illuminated emergency exit signs and similar products,” CBP determined that “the

betalight would be considered a part of illuminated signs and it would be classified in heading

9405, HTSUSA.” Id.

       Unlike the betalights in HQ 089963, which were accurately described by the terms of

Heading 9405 (“illuminated signs, illuminated nameplates and the like, having a permanently fixed

light source, and parts thereof not elsewhere specified or included”), the Tritium Sight Inserts do

not fit in any of the categories of described products described in Heading 9405. Indeed, the most

analogous category that the Government has identified is not listed in the terms of the heading, but

is rather an example of a “non-electrical lamp[] and light fitting[]” listed in the Explanatory Note

to Heading 9405—“candelabra, candlesticks, candle brackets, e.g., for pianos” because those




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products are non-electrical merchandise that produce a glow. Pl.’s Ex. 04, Fogle Dep. 154:9–18. 3

The subject merchandise are not analogous to candelabra, candlesticks, or candle brackets because

they are not merely a light used to illuminate a space, but rather a complex device generating a

glow from beta radiation to aid in the aiming of firearms.

       Further, unlike the betalight that CBP previously considered to be appropriately classified

under Heading 9405 as a part of an illuminated sign, neither Trijicon nor the Government contends

that the Tritium Sight Inserts are “parts” of a product that is classified under Heading 9405, as

described in the HTSUS or in the ENs. The Tritium Sight Inserts thus lack the fundamental features

that would make classification in Heading 9405 appropriate.

       D.      Shorthand References to Subject Merchandise as “Lamps” Do Not Support
               Classification Under Heading 9405, HTSUS

       Defendant’s Motion dedicates much attention to Bible quotes and the historical discovery

of radiation—none of which is relevant to a GRI 1 analysis of the subject merchandise—and

further relies upon various shorthand references to the subject merchandise as “lamps” as

dispositive of classification under Heading 9405. Defendant’s argument must fail for two reasons:

first, because Defendant’s emphasis on Trijicon’s references to “lamps” fails to take into

consideration the other terms that Trijicon and its supplier, mb-microtec, use to describe the subject




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   In its motion, the Government also analogizes the Tritium Sight Inserts to the “specialized,
separately imported machine lamps to which Explanatory Note 94.05(I) refers” and cites to
HQ 966041 (Apr. 29, 2003), which dealt with a fluorescent sewing machine light designed to
illuminate the area around the sewing machine. Def.’s Mot. at 10. Despite the Government’s
contention, the Tritium Sight Inserts are not similar to the specialized lamps in the Explanatory
Note. As with the other products listed as examples in the Explanatory Note, the specialized lamps
are all lamps intended for illuminating a space or for decor. See Explanatory Note 9405(I)(3)
(listing “darkroom lamps; machine lamps []; . . . non-flashing beacons for aerodromes; shop
window lamps; electric garlands (including those fitted with fancy lamps for carnival or
entertainment purposes or for decorating Christmas trees”).


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merchandise; and second, because any shorthand usage of that term is not dispositive as a matter

of law for classification purposes.

       First, throughout its Motion and Additional Statement of Undisputed Material Facts,

Defendant asserts that Trijicon’s shorthand references in various communications to the subject

merchandise as “lamps” should be given significant weight in support of classification under

Heading 9405. See Def. Add’l Statement of Undisputed Material Facts ¶¶ 8–12 (“Def. Add’l

SUMF”); Def.’s Mot. at 5, 10–11. In its Motion for Summary Judgment, Trijicon described the

subject merchandise in this case as consisting of “at least a gaseous tritium light source (or

‘GTLS’), which is a hermetically sealed glass capsule coated internally with zinc sulfide (or

phosphor) and filled with tritium gas.” Pl.’s Mot. 4–5 (emphasis in original). As Trijicon’s Mr.

Koesler explained in his deposition, the usage of “lamp” to refer to the subject merchandise and

GTLSs more broadly is meant as a shorthand. See Pl.’s Ex. 06, Deposition Testimony of Paul

Koesler 169:2–4 (June 7, 2023) (“Koesler Dep.”). Indeed, unlike Defendant’s assertion in Footnote

3 of its Motion that “GTLS” and not “lamp” is a shorthand for “gaseous tritium light source,” Mr.

Koesler explains in his deposition that when Trijicon refers to the subject merchandise as a “tritium

lamp,” it does so merely to avoid the inconvenience of spelling out “gaseous tritium light source”

in every instance, and in fact uses “tritium lamp” and “tritium insert” interchangeably. See id. at

168:14–21. Mr. Koesler further explained that GTLS is “commonly used to refer to” the subject

merchandise by the U.S. Nuclear Regulatory Commission because it is “the most specific name”

for the Tritium Sight Inserts. Id. at 146:11–147:6.

       Descriptions of the subject merchandise by Trijicon’s supplier mb-microtec lend further

support for Trijicon’s position that “lamps” is merely a shorthand for the subject merchandise that

does not dictate its proper classification. {




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                                                                                  } Pl.’s Ex. 11, mb-

microtec AG Trigalight Presentation (July 3, 2011), at 8. Moreover, mb-microtec’s trade catalog

refers to the product as “a self-powered illumination light source called trigalight” or “gaseous

tritium light sources” or “GTLS,” and alternatively a “tactical insert.” Pl.’s Ex. 14, mb-microtec

Trade Catalog (2020), at 4, 6, 14. Mb-microtec further analogizes the products to “a cathode ray

tube, which was once used in television screens,” rather than a “lamp.” Id. at 6. In sum, the

Government errs in focusing on one subset of references to the subject merchandise reflected in

some record documents (those using the shorthand term “lamps”) to the exclusion of more precise

references in other record documents. Consequently, periodic references to the subject

merchandise as “lamps” do not merit the weight that the Government attributes to them.

       Second, CBP and the courts have recognized that, as a matter of law, a name that sometimes

refers to the articles in colloquial usage does not determine how the article is classified. See, e.g.,

Customs Ruling HQ H018500 (Feb. 8, 2008) (“While this passage, read alone, might indicate that

marketing information and environment of sale are determinative of classification, this is not the

position of CBP.”); Rainin Instrument Co., Inc. v. United States, 288 F. Supp. 2d 1360, 1366 (Ct.

Int’l Trade 2003) (“[W]hile the marketing of merchandise is a factor to be considered in

determining its classification, it is not dispositive.”) (internal citations omitted). The Court of

Appeals has clearly stated that “even within the context of the HTSUS, we should not be ‘so

trusting of our own notions of what things are as to be willing to ignore the purpose for which they

were designed and made and the use to which they were actually put.’” GRK Canada, Ltd. v.

United States, 761 F.3d 1354, 1361 (Fed. Cir. 2014) (quoting United States v. Quon Quon Co., 46




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C.C.P.A. 70, 73 (1959)). Customs Rulings also follow this approach. For example, in HQ 960822

and HQ 086870, CBP classified glow sticks (aka “light sticks” or “lightsticks”) according to their

chemical components, i.e., chemical mixtures consisting of cyalume chemicals. Indeed, in

HQ 960822, CBP explicitly rejected the protestant’s claim that the marketing of the product was

dispositive for classification purposes. HQ 960822 (June 17, 1998) (“While it is true that the

marketing of an article can help determine whether it falls into a particular category, marketing

and advertising alone are not dispositive.”).

       A comparison to GRK Canada is also instructive. In that decision, the Court of Appeals

considered whether the product at-issue—various screw designs—would be classified as “other

wood screws” under 7318.12.00, HTSUS, or as “selftapping screws” under 7318.14.10, HTSUS.

GRK Canada, Ltd., 761 F.3d at 1356. The Court of Appeals stated that “use of the subject articles

[can be] an important aspect of their identity and, consequently, the articles’ classification,” and

that use can be important when “interpret[ing] tariff designations whose common commercial

meaning includes the intended use of articles.” Id. at 1358–59. Applying those considerations to

the products before it, the Court of Appeals noted, with reference to the Explanatory Notes for the

relevant heading, that “it is evident that the material with which the screw is intended to be used

is inherent within the name of the eo nomine tariff classification ‘other wood screw.’” Id. at 1359.

       In the present case, similar facts exist. Trijicon and the Government agree that 9405.50.40,

HTSUS, is an eo nomine provision. This classification covers “[l]amps and lighting fittings

including searchlights and spotlights and parts thereof, not elsewhere specified or included;

illuminated signs, illuminated nameplates and the like, having a permanently fixed light source,

and parts thereof not elsewhere specified or included: Non-electrical lamps and lighting fittings:




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Other: Other.” The Explanatory Note for Heading 9405, when explaining what the heading covers,

includes:

               “[l]amps and lighting fittings normally used for the illumination of
               rooms”; “[l]amps for exterior lighting”; “[s]pecialised lamps,
               e.g. . . . non‑flashing beacons for aerodromes”; “[l]amps and
               lighting fittings for the vehicles of Chapter 86, for aircraft or for
               ships or boats”; “[c]andelabra, candlesticks, candle brackets, e.g.,
               for pianos.”

EN Heading 9405 (2019). These examples from the enumerated list found in the EN for Heading

9405 indicate that the use of the merchandise is an important aspect of determining whether it

meets the type of “lamp” appropriately classified under Heading 9405. None of the examples listed

above—nor any of the other examples found in the EN—could even remotely be read to cover the

subject merchandise in this litigation.

       E.      Trijicon’s Tritium Sight Inserts Are “Elsewhere Specified or Included”

       As explained in detail below and in Trijicon’s Motion for Summary Judgment, the subject

merchandise is properly classified in Heading 9022. Because Trijicon’s Tritium Sight Inserts are

classifiable in Heading 9022, they are precluded from classification in Heading 9405 given that

they are “elsewhere specified or included.” See Gerson, 898 F.3d at 1236 (“[f]or a lamp to be

classifiable under heading 9405, . . . the plain language of the heading requires that the lamp not

be ‘elsewhere specified or included,’ meaning that the lamp must not be covered by any other

heading in any chapter of the HTSUS.”). Thus, even if this Court finds that the imported Tritium

Sight Inserts could prima facie qualify for classification in Heading 9405, the “not elsewhere

specified or included” limitation dictates that classification in Heading 9405 is improper because

the subject merchandise are also prima facie classifiable in Heading 9022. GRI 1 requires looking

to the terms of the relevant headings to classify merchandise. Defendant’s classification of the




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subject merchandise in a provision with the phrase “not elsewhere specified or included” must fail

where other headings might apply.

II.    Trijicon’s Tritium Sight Inserts Are Apparatuses Based on the Use of Beta
       Radiation Under Heading 9022, HTSUS

       Classification of the subject merchandise in Heading 9022 is proper under a GRI 1 analysis

because each model of the subject merchandise is an “apparatus” and is “based on the use of beta

radiation.” The Tritium Sight Inserts are covered by the express terms of Heading 9022. The

subject merchandise are complex devices and consist of a set of materials which, when combined,

are used to illuminate aiming points in Trijicon’s gun sight products. The use of beta radiation is

essential to the subject merchandise’s ability to function as an aiming aid. Furthermore, even if,

arguendo, Heading 9405 could also apply to the subject merchandise, GRI 3(a) dictates that

Heading 9022 is the more specific classification.

       A.      A Tritium Sight Insert Is an “Apparatus” Within The Meaning of Heading
               9022

       In Defendant’s Motion, the Government argues that Trijicon’s Tritium Sight Inserts may

not be classified under Heading 9022 because a Tritium Sight Insert is not an “apparatus.”

Contrary to the Government’s claim, Trijicon’s definition of “apparatus” is not outdated and has

not been discredited by more recent case law. In fact, Gerson recites a near identical definition to

that which appears first in the Merriam-Webster Dictionary (“a set of materials or equipment for

a particular use”). 4 Gerson states: “On the other hand, the terms ‘machine’ and ‘apparatus’


4
  Defendant’s Motion mischaracterizes the holding in Gerson, stating that “The Federal Circuit
recently explained in Gerson Co. that an ‘apparatus’ is a ‘complex device or machine for a specific
use,’ and held that ‘lamps’ such as battery-powered LED candles do not meet that definition.”
Def.’s Mot at 8. Gerson did not purport to adopt a single definition for the term “apparatus” as
implied in Defendant’s Motion. See, e.g., Def.’s Mot. at 13 (“First, the Federal Circuit’s reasoning
in Gerson Co. rejects Trijicon’s position. That decision defines an ‘apparatus’ as a ‘complex device
or machine for a specific use’ and effectively holds that a ‘lamp’ is not an ‘apparatus’ for purposes



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generally connote equipment designed specifically to carry out a particular function.” 898 F.3d at

1236 (citing Webster’s New World College Dictionary 67 (4th ed. 2009)). The Government is

correct in pointing out that Gerson also quotes the second-listed definition for apparatus in the

Merriam-Webster Dictionary, which is “any complex device or machine for a specific use.” 5

Based on either of the two definitions of “apparatus” referenced in Gerson, each of Trijicon’s

Tritium Sight Inserts is an “apparatus” within the meaning of Heading 9022. The subject

merchandise are both “a set of materials . . . for a particular use” and a “complex device . . . for a

specific use.”

                 1.     “Set of materials . . . for a particular use”

        The Tritium Sight Inserts at-issue in this litigation comfortably fit within the first definition

in the Merriam-Webster Dictionary—that is, a “set of materials . . . for a particular use”—because

the subject merchandise consist of several component parts (such as tritium gas, phosphor, and a

glass capillary) that work together to facilitate the aiming of Trijicon’s iron sights and riflescopes. 6

                        a)      The Tritium Sight Inserts are a “set of materials”

        First, the subject merchandise are a “set of materials.” Defendant asserts that the

components of the Tritium Sight Inserts are not themselves “materials,” but instead that a Tritium




of the HTSUS.”). Nor did the Court of Appeals hold that a “lamp” is not an “apparatus.” The
Court of Appeals in Gerson instead held that Gerson’s electric candles are classifiable under
subheading 9405.40.80. Gerson, 898 F.3d at 1241. Putting aside Defendant’s erroneous
characterization of Gerson, Trijicon’s Tritium Sight Inserts meet both definitions of “apparatus”
recited in Gerson.
5
  898 F.3d at 1236. Although Gerson points to Webster’s New World College Dictionary as the
source of this definition for “apparatus,” the definition in Webster’s is identical to that found in
the Merriam-Webster Dictionary.
6
  As Trijicon highlighted in its Motion for Summary Judgment, Defendant’s witness ultimately
did not refute Trijicon’s characterization of the subject merchandise as “a set of materials for a
particular use.” See Pl.’s Mot. at 16 (quoting Pl.’s Ex. 06, Fogle Dep. 137:17–138:5).



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Sight Insert “is just one ‘material’ (that is, one tool or piece of equipment), not a set thereof.”

Def.’s Mot. at 8; see also Def.’s Mot. at 14 (“Trijicon misunderstands the word ‘materials.’”). 7

This position is curious given that Defendant, elsewhere in the same motion, refers to the

components of the Tritium Sight Inserts as “materials.” Moreover, treating the constituent

components of Tritium Sight Inserts as “materials” (plural) is consistent with the common meaning

of the term.

       When describing how the tritium gas inside the glass capillary interacts with the zinc

sulfide phosphor interior coating, Defendant explains that “[r]adioactive materials produce light

through radioactive decay,” and that “[e]nergized sub-atomic particles shoot off of radioactive

material, which is unstable, during its decay into a more stable element.” Def.’s Mot. at 2 (citing

Radioactivity, The Columbia Encyclopedia 2350–51 (Paul Lagassé ed., 6th ed. 2000)) (emphasis

added). Shortly thereafter, Defendant describes the phosphor coating as a “material” when

explaining that “[w]eaker radiation can ionize a phosphor—a substance consisting of a host

material like a sulfide and an activator such as copper or zinc that, when energized, produces

light.” Def.’s Mot. at 3 (citing Phosphorescence, The Columbia Encyclopedia 2216 (Paul Lagassé

ed., 6th ed. 2000)) (emphasis added). Later in the motion, the Government describes merchandise

classifiable within Heading 9022 as encompassing a subset of “[c]ontainers for radioactive

materials in apparatus.” Def.’s Mot. at 23 (emphasis added).




7
  Interestingly, the Government appears to argue the same point differently depending on the word
that is being interpreted: while the Government argues that the term “apparatus” should have the
exact same meaning in every heading of the HTSUS, it also claims that “material” can be
understood differently depending on the “context.” Compare Def.’s Mot. at 15 (“Although Gerson
Co. interpreted the word ‘apparatus’ in heading 8543, rather than heading 9022, its reasoning is
still relevant for the interpretation of the term as it appears in heading 9022.”), with id. at 17
(“Trijicon tries to avoid this conclusion by taking the word ‘materials’ out of its context.”). The
Government cannot have it both ways.


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       As Defendant’s Motion illustrates, the word “materials” is a broad term, and Trijicon’s use

of the term in its Motion for Summary Judgment comports with its common understanding. This

understanding also makes sense in the particular context of the definition of “apparatus.” There is

no text in the dictionary definition of “apparatus” or in Gerson to suggest, as the Government

claims, that Heading 9022 applies only to an imported article consisting of several different devices

working together as a machination rather than a discrete, individual article designed for a particular

purpose. See, e.g., Customs Ruling HQ 088465 (Feb. 22, 1991) (classifying a research irradiator

in Heading 9022); Customs Ruling N184115 (Oct. 5, 2011) (classifying an Optical Heating

Crystallization Device in Heading 9022). Contrary to the Government’s argument, the type of

“apparatus” referred to in Heading 9022 is not limited to several different devices working together

as a machination, but includes discrete individual articles designed for a particular purpose. In light

of the Government’s own expansive adoption of the commonly understood meaning of the term

“materials,” its attempt to narrow that term’s definition in this context must fail.

                       b)      The Tritium Sight Inserts serve “a particular use”

       Second, the Tritium Sight Inserts serve a “particular use.” The Government acknowledges

in its motion that the Tritium Sight Inserts are specially designed for a particular purpose but later

attempts to discredit that admission by suggesting that any article can be interpreted as having a

special purpose. The Government maintains that the Tritium Sight Inserts can still be considered

lamps “despite their unique energy source and specialized uses.” Def.’s Mot. at 11. However, the

Government later criticizes Trijicon’s interpretation of an apparatus with “a particular use,”

suggesting it would lead to such “overly broad” results as “a glass of water would be an apparatus

for quenching thirst; a shoe would be an apparatus for walking; [or] a printed brief would be an

apparatus for persuading a judge.” Def.’s Mot. at 18. This oversimplification of Trijicon’s position

is without merit. As the Government readily admits, the Tritium Sight Inserts are specialized. As


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imported by Trijicon, they serve a sophisticated and specific use: the glow from the beta radiation

emitted inside the inserts are used to aid in aiming firearms. The Government acknowledges as

much, and then attempts to reduce and obfuscate the point by arguing that any object can be used

for a special purpose. Such an argument denies the clear specialized nature of Tritium Sight Inserts,

which rely upon radioactive materials interacting with a host material inside a hermetically sealed

glass capillary to produce light. 8

                2.      “Complex device or machine for a specific use”

        Trijicon’s Tritium Sight Inserts further meet the definition that Defendant relies upon in its

motion: a “complex device or machine for a specific use” because they are small, high-precision

devices designed to harness beta radiation within precisely crafted glass ampules and emit light

radiation in a defined direction to provide users with a glowing alignment aid.

                        a)      The Tritium Sight Inserts are “devices” that are “for a specific
                                use”

        The Government alleges that the subject merchandise are not the type of “complex devices

or machines” of Heading 9022. Def.’s Mot. at 14–16. Defendant’s Motion implicitly concedes that

the subject merchandise are a “device.” E.g., Def.’s Mot. at 9 (“A ‘lamp’ is any of various devices

for producing light or heat . . .”), 10 (“It is a device that produces light by energizing a phosphor.”).

The Merriam-Webster Dictionary defines “Device” as: “a piece of equipment or a mechanism for

a special purpose.” Pl.’s Ex. 19, Device, Merriam-Webster Dictionary (2022). This definition is


8
   The Government’s argument further misses the point and takes unsupported logical leaps by
suggesting that “[a]ny article that consists of more than one substance is a ‘set of materials’ and
thus an apparatus.” The Government again ignores the rest of the terms in the definition for
“apparatus”—“a set of materials for a particular use.” A glass of water can quench thirst, it can
also be used for watering plants, cleaning a car, or washing hands. A shoe can be used for walking,
it can also be used for standing or for protection. A printed brief can be used to persuade a judge,
but it can also be used for teaching. None of the examples listed by the Government have a
“particular use,” they have numerous potential uses. Trijicon’s imported Tritium Sight Inserts have
a particular use—illuminating aiming points in Trijicon’s products.


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essentially the same as the definition for “apparatus.” And, as explained in detail above, Trijicon’s

Tritium Sight Inserts are “for a specific use.” The subject merchandise facilitate the aiming of the

firearm into which the riflescopes and iron sights are installed, by creating (and making visible) a

specific glowing aiming point a firearm user can view in low light (either directly or through an

optical fiber).

                       b)      The Tritium Sight Inserts are “complex”

        Notably, Defendant does not cite to any dictionary definition for the term “complex.” Nor

does Gerson provide further detail on what characteristics a device must possess to make it

“complex.” The Government simply asserts, without supporting authority, that the definition

“complex device or machine for a specific use” “does not cover mere illuminative articles like the

tritium lamps at issue, especially considering that they cannot, unlike more complex light sources

such as LEDs, be turned on and off, dimmed, or brightened.” Def.’s Mot. at 15. This perhaps

suggests that the Government considers “complex[ity]” to require features that allow for

manipulation of the amount of light the device gives off. However, this ignores that the term

“complex” is broad and can refer to numerous types of characteristics. In fact, Defendant’s Motion

dismisses without any explanation that the complex production process necessary to manufacture

the Tritium Sight Inserts could satisfy the definition of “complex.” See Def.’s Mot. 20 (“The lamps,

despite being manufactured with high-precision machines . . .”).

        The Merriam-Webster Dictionary defines “complex” as “composed of two or more parts.”

Pl.’s Ex. 20, Complex, Merriam-Webster Dictionary (2022). The Oxford English Dictionary

similarly defines “complex” as “Consisting of or comprehending various parts united or connected

together; formed by combination of different elements; composite, compound;” or, “Consisting of

parts or elements not simply co-ordinated, but some of them involved in various degrees of

subordination; complicated, involved, intricate; not easily analysed or disentangled.” Pl.’s Ex. 21,


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Complex, Oxford English Dictionary, 2nd ed. (1991) (available in online version at:

https://www.oed.com/dictionary/complex_adj?tab=meaning_and_use#8833579). 9 The subject

merchandise easily meet these three dictionary definitions.

         First, the subject merchandise are “composed of two or more parts.” As imported, the

subject merchandise contain at least the glass capillary, the interior phosphor coating, and the

tritium gas. The typical cylindrical inserts described above have additional components, namely

the glowing glass capillaries are further encased in a metal housing. Pl.’s Statement of Undisputed

Material Facts (“SUMF ¶ 41”). A crystal cap (also referred to as a “sapphire lens”) abuts the end

of the tube, and protects the glass tube. Pl.’s SUMF ¶ 41. In the case of the rectangular inserts, the

rectangular glass ampule is further painted with white paint on all but one primary surfaces. Pl.’s

SUMF ¶ 62. Thus, the inserts at the very minimum are comprised of three parts. These parts are

“hard to separate.” None of the individual components of the subject merchandise can function

on its own to illuminate the aiming points in Trijicon’s products: without the tritium gas, the

phosphor would not illuminate; without the phosphor, the tritium’s beta radiation would be

invisible; and without the glass, there would be no way to pair the tritium and the phosphor. The

device components function in concert to achieve this purpose.

         Second, the subject merchandise can also be described as “Consisting of or comprehending

various parts united or connected together; formed by combination of different elements;

composite, compound.” As explained above, the subject merchandise consist of various parts that

are “united or connected together” and which cannot function on their own to achieve the

illumination of aiming points. The manufacturer of the subject merchandise must first produce the

glass capillaries by heating large glass tubes and “creating thin glass capillaries of the desired


9
    This definition lists “A very complex Apparatus” as an example.


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dimension,” next the inside of the glass capillary is coated with zinc sulfide, then the capillary is

filled with tritium gas, and the glass capillary is then “cut to the desired length and at the same

time hermetically sealed by a highly automated laser melting machine.” Pl.’s Ex. 22, Technology,

Trigalight, https://trigalight.com/technology/. Moreover, Trijicon’s Tritium Sight Inserts are

characterized by their “high precision” as described in the EN to Chapter 90. The Tritium Sight

Inserts are designed to harness beta radiation within very small, precisely crafted glass ampules,

which are internally coated with specialized phosphors that are activated by the beta radiation

emitted by the tritium and in turn emit light radiation of desired color temperatures in a defined

direction to maximize the glow and therefore maximize the product’s function of providing users

with a glowing self-contained long-life alignment aide. Pl.’s SUMF ¶¶ 13, 20–23. {




                                                       } Pl.’s Ex. 11, mb-microtec AG Trigalight

Presentation (July 3, 2011), at 11; Pl.’s SUMF ¶ 28.

       Third, the subject merchandise can be described as “Consisting of parts or elements not

simply co-ordinated, but some of them involved in various degrees of subordination; complicated,

involved, intricate; not easily analysed or disentangled.” The Tritium Sight Inserts, as discussed

above, consist of several elements that are not easily disentangled from each other. The glass

capillary cannot be opened without the tritium gas leaking into the air, which would cause the

insert to cease its ability to function, as there would be no radiation to energize the zinc sulfide.

Other elements are subordinate to the tritium gas and zinc sulfide, for example, the crystal cap aids

users by acting as a window, and the white paint also ensures that the sight aid is sufficiently




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visible in the riflescope’s reticle pattern. These features enhance the subject merchandise’s

function.

        In sum, Defendant’s Motion’s attempts to obfuscate the GRI 1 analysis with unsupported

and undefined references to material(s), device(s), and complexity are misplaced. As this Response

shows, the Tritium Sight Inserts satisfy in full the express language of Heading 9022 in that each

individual Tritium Sight Insert is an “apparatus”—and nowhere in its Motion did Defendant argue

that Tritium Sight Inserts are not “based on . . . beta radiation.” 10

        B.      The Explanatory Notes Confirm that the Tritium Sight Inserts Are Classified
                in Heading 9022

        The EN to Chapter 90 supports classification of the subject merchandise in Chapter 90, and

more specifically, in Heading 9022. The EN to Chapter 90 states that: “This Chapter covers a wide

variety of instruments and apparatus which are, as a rule, characterised by their high finish and

high precision.” Trijicon’s Tritium Sight Inserts are characterized by their “high precision.”

        The Tritium Sight Inserts are designed to harness beta radiation within very small, precisely

crafted glass ampules, which are internally coated with specialized phosphors that are activated by

the beta radiation emitted by the tritium and in turn emit light radiation of desired color

temperatures in a defined direction to maximize the glow and therefore maximize the product’s

function of providing users with a glowing self-contained long-life alignment aide. Pl.’s SUMF ¶¶

13, 20–23. {



                                                                                      } Pl.’s Ex. 11,

mb-microtec AG Trigalight Presentation (July 3, 2011), at 11; Pl.’s SUMF ¶ 28.


10
   Instead of contesting whether the subject merchandise is based on beta radiation, Defendant
argues that the subject merchandise is not an “apparatus.” Def.’s Mot. at 2.


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       The EN to Heading 9022 likewise supports classification of Trijicon’s Tritium Sight Inserts

in Heading 9022. As Trijicon explained in its Motion for Summary Judgment, the EN is

illustrative, and provides examples of the types of devices that may be classified in the heading.

There is no language in the text of the EN to Chapter 90 or the EN to Heading 9022 that precludes

classification of the subject merchandise in 9022. 11

       Moreover, even if this Court adopts the Government’s interpretation of the EN to Heading

9022, that a device within Heading 9022 must incorporate “an aperture designed to let the

radiations pass in one direction only,” the Tritium Sight Inserts would still come within the

description of the EN because the subject merchandise consist of an aperture that allows for light

radiation to pass in one direction.

       Trijicon explained in its Motion for Summary Judgment that:

               “The Tritium Sight Inserts are designed to harness beta radiation
               within very small, precisely crafted glass ampules, which are
               internally coated with specialized phosphors that are activated by
               the beta radiation emitted by the tritium and in turn emit light
               radiation of desired color temperatures in a defined direction
               to maximize the glow and therefore maximize the product’s
               function of providing users with a glowing self-contained long-life
               alignment aide.”

Pl.’s Mot. at 22–23 (citing Pl.’s SUMF ¶¶ 13, 20–23). Trijicon’s response to the Government’s

Interrogatory No. 5 further explains that:

               [E]ach product covered by the subject entries contains an aperture
               designed to let light radiation pass in one direction only. . . . The
               beta radiation reacts with the zinc sulphide to produce a
               luminescent glow, which is light radiation. This resulting light
               radiation passes in one direction due to the design of the aperture,
               which directs the light radiation towards the user’s eye, or toward
               the reticle inside an optic, providing users with a glowing
               alignment aide. The capillary in each sight insert is either sleeved,

11
   Defendant’s witness during the deposition agreed with Trijicon’s reading of the ENs as
providing illustrative, and not exhaustive, examples. See Pl.’s Ex. 04, Fogle Dep. at 143:9-23.


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                 painted on all sides except one, or intended to let light radiation
                 pass in one direction only once the sight insert is installed into to
                 the iron sight or riflescope.

Pl.’s Ex. 23, Pl.’s Resp. to Interrog. No. 5 (Jan. 13, 2023).

          With respect to products where the capillary was installed into a sleeve, the light radiation

only passes through the viewing end of the sleeve (through the crystal cap). As to the Tritium Sight

Inserts containing non-sleeved capillary assemblies, which Trijicon uses in the manufacture of

optical sights, the glass capillary assembly is painted on all sides except one with a white paint so

that visible light radiation only emanates from one surface of the capillary assembly. Id. 12 Finally,

in the few products in which the glass capillary assembly is not purchased and imported by Trijicon

already installed into a sleeve or painted on all but one side, the sight insert is installed by Trijicon

only into Trijicon products with only one open end such that light radiation passes in one direction

only. Id. Thus, the subject merchandise satisfy the text of the EN to Heading 9022 because the

Tritium Sight Inserts are designed to direct light radiation toward the user’s eye or toward the

reticle inside an optic, and do so by “let[ing] the radiations pass in one direction only.”




12
     Trijicon’s witness Mr. Koesler explained this concept:
                 Q: What do you mean by “aperture” there?

                 A: An opening for the light to go through, so the light does not
                 pass out of the painted sides when you’re looking at the product. It
                 just passes through the unpainted side.

                 Q: Okay. How does the paint do that?

                 A: Same way that a white wall reflects light, right. The light hits it,
                 and it just – you know, the photons reflect off it.

Pl.’s Ex. 06, Koesler Dep. at 128:19–129:7.



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        C.      Defendant’s Counterarguments Are Unpersuasive

        Contrary to the Government’s assertion, classification of Trijicon’s Tritium Sight Inserts

in Heading 9022 will not limit Heading 9405 to non-radiation-powered lamps. 13 Classification is

a product-specific inquiry, and the Court’s decision in this case will be limited to Trijicon’s Tritium

Sight Inserts. See Outer Circle Products v. United States, 590 F.3d 1323, 1325 (Fed. Cir. 2010)

(“A classification decision involves . . . determining which heading the disputed goods fall

within”) (emphasis added); Agatec Corp. v. United States, 31 C.I.T. 847, 851 (2007). In any event,

classification of Tritium Sight Inserts in Heading 9022 would not preclude any other hypothetical

device that uses radiation from classification in Heading 9405, if that classification was otherwise

proper. See, e.g., Customs Ruling HQ 089963 (Nov. 21, 1991).

        In Gerson, the Court of Appeals agreed with the U.S. Court of International Trade, that:

                If one were to read heading 8543 as covering Gerson’s candles, it
                would cover every electric lamp, because all such lamps use
                electricity to generate light. And, by operation of Note 1(f), such
                lamps could not be classified under heading 9405. In other words,
                heading 9405 would be constrained to only non-electric lamps.
                That reading, as the Trade Court noted, “would impose a specific,
                and drastic, limitation on the scope of heading 9405, HTSUS that
                the article description for that heading does not express or
                suggest.” Gerson, 254 F.Supp.3d at 1278. In fact, such a reading
                would effectively remove electric “searchlights” and “spotlights”
                from heading 9405 even though those devices are expressly

13
   The Government’s argument that classification of the Tritium Sight Inserts in Heading 9022
would require a “hyper-technical” reading of the heading description is similarly unpersuasive, as
it ignores the relevant context in Gerson. Heading 8543, “[e]lectrical machines and apparatus,
having individual functions, not specified or included elsewhere in this chapter” is much more
general in scope than Heading 9022, which covers “Apparatus based on the use of X-rays or of
alpha, beta or gamma radiations.” Further, in Gerson the Court of Appeals took issue with
classifying the decorative electrical candles in Heading 8543 because the heading did not
specifically describe the product. Gerson, 898 F.3d at 1236. In contrast, Heading 9022 specifically
describes the Tritium Sight Inserts, as an “apparatus based on the use of . . . beta . . . radiation.” It
is an unsupported leap beyond the Court of the Appeals’ logic in Gerson for the Government to
suggest that because the term “lamp” as used in Heading 9405 was a better fit for the electrical
candles in Gerson than a broader machine classification, then Heading 9022 does not apply to the
Tritium Sight Inserts.


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               provided for in that heading. See HTSUS Hdg. 9405 (“Lamps and
               lighting fittings including searchlights and spotlights and parts
               thereof” (emphasis added)).

898 F.3d at 1237. By contrast, classification of the Tritium Sight Inserts in Heading 9022 will not

“impose a specific and drastic” limitation on the scope of Heading 9405. The product at issue in

Gerson was an electric candle used to decorate and illuminate rooms. The Court of Appeals took

issue with classification of the product in Gerson in Heading 8543, as an “[e]lectrical machines

and apparatus, having individual functions, not specified or included elsewhere in this chapter.”

       Distinctly, Trijicon’s Tritium Sight Inserts are high-precision devices, which harness the

beta radiation and zinc sulfide coating within the device, ultimately to facilitate the aiming of

firearms. There are far fewer devices that rely upon beta radiation to achieve illumination than

there are “lamps and light fittings including searchlights and spotlights and parts thereof, not

elsewhere specified or included,” and classifying the Tritium Sight Inserts under Heading 9022

would not have an impact equivalent to limiting Heading 9405 “to only non-electric lamps” as was

the case in Gerson. Classification of the subject merchandise in Heading 9022 would therefore not

result in a “drastic” limitation on the scope of Heading 9405, even if that heading were prima facie

proper. Indeed, multiple examples exist of goods that could be classified in Heading 9405 as a

non-electrical lamp. E.g., Customs Ruling NY D87786 (Mar. 5, 1999) (classifying rattan

torchlight); Customs Ruling NY C81556 (Nov. 18, 1997) (classifying conical glass lamp with

cotton wicking); Customs Ruling NY E80583 (May 10, 1999) (classifying ceramic candle holder).

       Further, Trijicon above describes another ruling, where CBP found that a device that

incorporates beta radiation should be classified in Heading 9405 because it “is used principally in

illuminated emergency exit signs and similar products.” HQ 089963 (Nov. 21, 1991). As Heading

9405 covers “illuminated name-plates . . . and parts thereof,” classification in Heading 9405 was

proper in that instance. Trijicon thus maintains that Defendant’s argument that classification under


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Heading 9022 would somehow drastically narrow the scope of what remains classifiable in

Heading 9405 ignores that a classification decision made by this Court with respect to the subject

merchandise in this litigation only applies to the subject merchandise, and not to any separate

hypothetical product that incorporates radiation and has illuminating functions.

       D.      Classification of the Tritium Sight Inserts in Heading 9022 Is Appropriate
               Because Heading 9022 Is More Specific than Heading 9405, Pursuant to
               GRI 3(a)

       Plaintiff contends that this case can be resolved under GRI 1, because the Tritium Sight

Inserts are properly classifiable under Heading 9022 as apparatuses based on the use of beta

radiation, and are not classifiable under Heading 9405 as “[l]amps and lighting fittings.” However,

even if the Court were to find the Tritium Sight Inserts to be classifiable under both Heading 9022

and Heading 9405, GRI 3(a) dictates that Heading 9022 is the more specific heading, and thus is

the proper classification. GRI 3(a) states:

               When, by application of rule 2(b) or for any other reason, goods
               are, prima facie, classifiable under two or more headings,
               classification shall be effected as follows:

               (a) The heading which provides the most specific description shall
               be preferred to headings providing a more general description.

As Trijicon explains in its Motion for Summary Judgment, Heading 9022 is more specific than

Heading 9405 because it contains terms that are more difficult to satisfy, and describes the goods

with more accuracy and certainty. See Pl.’s Mot. at 29–31.

       The Government has highlighted that merchandise classified in Heading 9405 “can be

constituted of any material” and can “use any source of light.” See, e.g., Def.’s Mot. at 2. In

contrast, Heading 9022 applies only to “Apparatus based on the use of X-rays or of alpha, beta or

gamma radiations.” As discussed above, Heading 9405 is a basket provision for certain lamps and




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light fittings, while Heading 9022 provides specifically for apparatuses based on x-rays, alpha,

beta, or gamma radiation, which is a narrower and more precise description.

        In addition, Heading 9022 encompasses goods that require more processing and is therefore

the more difficult provision to satisfy. See Orlando Food Corp. v. United States, 140 F.3d 1437,

1441 (Fed. Cir. 1998) (finding that Heading 2103, which covers preparations for sauces, is more

specific than Heading 2002, which covers prepared and preserved tomatoes, because it requires

more processing and is therefore more difficult to satisfy). As explained above, mb-microtec must

first heat large glass tubes in order to create the glass ampules, and then coat the inside of the glass

capillary with zinc sulfide. The ampule is then filled with the tritium gas and cut to the appropriate

length and sealed using a “highly automated laser melting machine.” Pl.’s Ex. 22, Technology,

Trigalight, https://trigalight.com/technology/. In addition to these high-precision manufacturing

steps performed by mb-microtec, the radioactivity of the Tritium Sight Inserts necessitates

specialized handling and safety protocols unique to substances that emit radiation—a far smaller

universe of products than those that can be classified as a “lamp.” See, e.g., Def.’s Ex. 01, Koesler

Dep. 202:1-203:10. These processes are certainly more difficult to perform than combining a

lightbulb, wires, and a base into an electric candle.

        Finally, Heading 9022 describes the subject merchandise with the greatest degree of

accuracy and certainty. Heading 9022 names the exact type of radiation—beta radiation—that the

Tritium Sight Inserts contain. This beta radiation is essential to the subject merchandise’s purpose,

to illuminate aiming points in Trijicon’s iron sights and riflescopes. See Photonetics, Inc. v. United

States, 33 C.I.T. 1549, 1569 659 F. Supp. 2d 1317, 1333 (Ct. Int’l Trade 2009) (“Courts

undertaking the GRI 3(a) comparison ‘look to the provision with requirements that are more

difficult to satisfy and that describe the article with the greatest degree of accuracy and certainty.’”)




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(quoting Faus Grp., Inc. v. United States, 581 F.3d 1369, 1373 (Fed. Cir. 2009)); Pl.’s SUMF

¶¶ 12–23. By contrast, Heading 9405 only describes the subject merchandise to the extent that they

produce light, and as discussed above, many other products produce light and can be classified in

headings other than Heading 9405. See infra, Section II.B. Heading 9405 contains a wide variety

of electric and non-electric lamps and lighting fittings and encompasses a wider range of products

than those in Heading 9022, which rely upon beta radiation to achieve a functional result. As such,

Heading 9022, which specifically provides for apparatus based on beta radiation, is a more specific

description of the Tritium Sight Inserts, than the more general “[l]amps and lighting fittings . . .

and parts thereof not elsewhere specified or included” provision in Heading 9405 and specifically,

in 9405.50.40, HTSUS.

                                         CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that the Court issue summary

judgment in its favor and order Customs to reliquidate the subject entries with classification in

Subheading 9022.29.80, HTSUS, and to refund excess duties paid with interest as provided by

law.




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                            CERTIFICATE OF COMPLIANCE

       Pursuant to the Standard Chambers Procedures of the U.S. Court of International Trade,

this Memorandum of Law in Response to Defendant’s Cross-Motion for Summary Judgment

contains 10,222 words, as determined by Microsoft Word. This word count is within the limit of

14,000 words set forth in Rule 2(B).



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Dated: December 8, 2023




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                                CERTIFICATE OF SERVICE

       I certify that on December 8, 2023, I served a copy of Trijicon Inc.’s attached Memorandum

of Law in Response to Defendant’s Cross-Motion for Summary Judgment with the Clerk of Court

using the CM/ECF system, which will send notice to all counsel of record, including Luke

Mathers, counsel to the United States.



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